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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

    CLEMMIE L. JOHNSON,

          Plaintiff,                                                           ORDER
    v.
                                                                     Case No. 21-cv-606-wmc
    DANIEL GOFF, et al

          Defendants.


         Plaintiff Clemmie L. Johnson a prisoner in the custody of the Department of

Corrections, has submitted a proposed complaint and has paid the $402 filing fee.1 Because

plaintiff is a prisoner, plaintiff is subject to the Prison Litigation Reform Act, which requires

the court to screen the complaint to determine whether any portion is frivolous or malicious,

fails to state a claim on which relief may be granted or seeks monetary relief from a defendant

who is immune from such relief.

         Accordingly, IT IS ORDERED that plaintiff Clemmie L. Johnson’s complaint is taken

under advisement pursuant to 28 U.S.C. § 1915A. Plaintiff will be notified promptly when

such a decision has been made. In the meantime, if plaintiff needs to communicate with the

court about this case, plaintiff should be sure to write the case number shown above on any

communication.


                 Entered this 30th day of November, 2021.

                                        BY THE COURT:


                                        /s/
                                        PETER OPPENEER
                                        Magistrate Judge



1
 Effective December 1, 2020, the total filing fee for a civil action is $402 (the $350 statutory fee plus
the $52 miscellaneous administrative fee).
